        Case 1:24-cv-02262-NGG-CLP Document 4 Filed 03/28/24 Page 1 of 1 PageID #: 23

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

                   RICHARD YOUMANS                                    )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:24-cv-02262-NGG-CLP
                                                                      )
     S DOWN BELOW LLC d/b/a Seamore's, JAY                            )
      WAINWRIGHT, and MICHAEL CHERNOW
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) S DOWN BELOW LLC d/b/a Seamore's
                                       66 Water St
                                       Brooklyn, NY 11201

                                       JAY WAINWRIGHT                                    MICHAEL CHERNOW
                                       S DOWN BELOW LLC d/b/a Seamore's                  S DOWN BELOW LLC d/b/a Seamore's
                                       142 E 71st St, Apt 5C                             1230 Harlemville Rd
                                       New York, NY 10021-5157                           Ghent, NY 12075-2004
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Robert Wisniewski, Esq.
                                       Robert Wisniewski, P.C.
                                       17 State Street, Suite 820
                                       New York, NY 10004
                                       Tel. (212) 267-2101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:    03/28/2024                                                             s/Kimberly Davis
                                                                                          Signature of Clerk or Deputy Clerk
